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                               UNITED STATES DISTRICT COURT
 8
                            SOUTHERN DISTRICT OF CALIFORNIA
 9
       ELIZABETH JIMINEZ, individually,             Consolidated Case Nos.:
10                                                    17cv1205-BTM-AGS
       and as successor in interest of                18cv1269-BTM-AGS
11     FERNANDO GEOVANNI LLANEZ,
       deceased; FERNANDO LLANEZ,                   MEMORANDUM OF POINTS AND
12                                                  AUTHORITIES IN SUPPORT OF THE
       individually, and as successor in interest   UNITED STATES OF AMERICA AND
13     of FERNANDO GEOVANNI LLANEZ,                 RONALDO GONZALEZ’S MOTION
       deceased                                     FOR SUMMARY JUDGMENT
14
                                Plaintiffs,
15                                                  CTRM: 15B
16                   vs.                            JUDGE: Hon. Barry Ted Moskowitz

17
                                                    [PER CHAMBERS, NO ORAL
       THE UNITED STATES OF AMERICA;                ARGUMENT UNLESS REQUESTED
18     RONALDO RICARDO GONZALEZ, an                 BY THE COURT]
       individual; MARCUS OSORIO, an
19
       individual; CHRIS BARONI, an
20     individual; ANGELA SANCHEZ, an
       individual; MICHAEL BURBANK, an
21
       individual; JEREMY DORN, an
22     individual; ANTHONY
23
       CASTELLANOS, an individual; MARK
       MEREDITH, an individual; and DOES
24     1-100, inclusive,
25                              Defendants.
26
27
28
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 1                                              INTRODUCTION
 2           The Court has already held that Special Agent (SA) Ronaldo Gonzalez was justified
 3     in using deadly force against Fernando Geovanni Llanez on June 16, 2016. See Order (ECF
 4     14, at 21-22). That is because at the time of the shooting, Llanez “was involved in a felony
 5     drug transaction worth hundreds of thousands of dollars and brandished a taser as he chased
 6     after Defendant Gonzalez in an attempt to frustrate his retreat.” Id. at 21. In response, SA
 7     Gonzalez shot Llanez four times. After construing all allegations in Plaintiffs’ favor, the
 8     Court ruled that they have not shown that the first three shots were unreasonable under the
 9     Fourth Amendment. Id. at 21-22. The Court left open the possibility that a fourth shot might
10     have been unreasonable because Plaintiffs alleged that the fourth shot was fired into
11     Llanez’s back when he was “clearly unarmed,” lying face-down on the ground. Id. at 22-
12     24. That finding was limited to the then-“present record.” Id. at 24. Based on that same
13     reasoning, the Court ruled that Plaintiffs also sufficiently alleged an assault and battery
14     claim against the United States under the Federal Tort Claims Act (FTCA), 28 U.S.C. §§
15     1346(b), 2671-80. Id. at 30-31.
16           Incontrovertible evidence not part of the then-“present record” demonstrates that the
17     fourth shot was also reasonable under the Fourth Amendment and that SA Gonzalez is
18     entitled to qualified immunity. Indeed, an audio recording of the shooting shows that all
19     four shots happened in two seconds. The Supreme Court and the Ninth Circuit have both
20     held that when an officer is justified in using deadly force and the volley of shots occurs in
21     quick succession, the number of shots fired does not turn an otherwise reasonable use of
22     deadly force into an unreasonable one. See Plumhoff v. Rickard, 572 U.S. 765, 777 (2014).
23     The Fourth Amendment does not “require[] an officer to reevaluate whether a deadly threat
24     has been eliminated after each shot.” Wilkinson v. Torres, 610 F.3d 546, 552 (9th Cir. 2010).
25     That precedent requires the same result here on the Fourth Amendment claim and the FTCA
26     assault and battery claim. See Order (ECF 14, at 30) (“In California, common law claims of
27
28
                                                         1
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 1     assault and battery against law enforcement officers are analyzed under the Fourth
 2     Amendment’s reasonableness standard.”).
 3            Based on the foregoing, SA Gonzalez and the United States move for summary
 4     judgment on the following grounds, and pursuant to Federal Rule of Civil Procedure 56(c):
 5         (1) Defendant Gonzalez is entitled to summary judgment on the excessive force claim
               based on qualified immunity because the evidence shows that his actions did not
 6             violate any clearly established Fourth Amendment right; and
 7         (2) The United States is entitled to summary judgment on the assault and battery claim
               because the evidence shows its conduct is not actionable under California law.1
 8
 9                                        I.       EVIDENCE GUIDE
10            Four pieces of evidence support this motion and are attached to the Notice of
11     Lodgment, also filed concurrently herewith:
12
              (1) Exhibit 1: 09/23/2020 Declaration of Ronaldo Gonzalez (“Gonzalez Decl.”);
13
              (2) Exhibit 2: 06/20/2016 Interview of Ronaldo Gonzalez (“Gonzalez Interview”);
14
              (3) Exhibit 3: 08/31/2020 Declaration of German Burgoin (“Burgoin Decl.”); and
15
              (4) Exhibit 4: 06/14/2016 Excerpted Body Wire Recording.
16
17                                  II.        FACTUAL BACKGROUND
18            The movants are the United States of America and Special Agent (SA) Ronaldo
19     Gonzalez of the Department of Homeland Security. Plaintiffs are Fernando and Elizabeth
20     Jiminez, parents of the decedent, Fernando Geovanni Llanez. Second Amended Complaint
21     (ECF 15 ¶¶ 3-5). The incident giving rise to this civil suit occurred on June 14, 2016.
22
       1
23       On this same date, Individual Defendants Lori Giannantonio, Jeffrey Grimming, Juan
24
       Munoz, Jeremy Dorn, Michael Burbank, Marcus Osorio, Chris Baroni, Angela Sanchez,
       Anthony Castellanos, Jacqleen Riley, and Mark Meredith moved to dismiss the excessive
25     force claim because Plaintiffs failed to sufficiently allege their personal participation.
26     Should the Court deny that motion for any one of them, they would also be entitled to
       summary judgment based on qualified immunity. Indeed, if SA Gonzalez did not commit a
27     clearly established constitutional violation when he used deadly force, there would be no
28     basis to hold any of these defendants secondarily liable for failing to prevent it.
                                                         2
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 1     Gonzalez Decl. ¶ 4; (ECF 15 ¶¶ 44-46). At that time, SA Gonzalez was participating in an
 2     undercover sting operation and conducting a controlled delivery of approximately 2,000
 3     pounds of marijuana at a shopping center in Chula Vista, California. Gonzalez Decl. ¶ 4;
 4     (ECF 15 ¶¶ 12, 20, 22, 33). At approximately 1:56 p.m., five individuals associated with
 5     the potential purchaser of the contraband (including Llanez) arrived on the scene. Gonzalez
 6     Interview, at 78:18-19, 79:11-12, 80:28 (indicating the time was around 1:45 p.m., and then
 7     about fifteen to seventeen minutes later about four guys showed up to inspect the
 8     marijuana); Gonzalez Dec. ¶ 5 (affirming that interview statements are truthful and accurate
 9     statements of his recall of events); (ECF 15 ¶¶ 20, 42, 44, 60) (alleging that Llanez and his
10     associate arrived on the scene at approximately 1:56 p.m., and at that point there were five
11     “suspects” on the scene).
12           Shortly after Llanez arrived, SA Gonzalez can be heard on his body wire recording
13     inserting a key into the driver’s side door of the drug-laden van and then taking off running.
14     Excerpted Body Wire Recording, at 0:45; Burgoin Decl. ¶ 4 (identifying the Excerpted
15     Body Wire Recording as a true and accurate copy); Gonzalez Decl. ¶ 6; Gonzalez Interview,
16     at 87:2-88:28; (ECF 15 ¶¶ 20, 45-46). Llanez had brandished a weapon (a taser) and was
17     chasing SA Gonzalez. Gonzalez Interview, at 88:15-93:1; (ECF 15 ¶ 46). On the body wire
18     recording, SA Gonzalez can be heard yelling “aaaaa…help!” Excerpted Body Wire
19     Recording, at 0:50; Gonzalez Decl. ¶ 6; (ECF 15 ¶¶ 20, 46-47). SA Gonzalez believed that
20     Llanez had shot him with the “something.” Excerpted Body Wire Recording, at 1:33, 2:48,
21     3:04; Gonzalez Interview 93:3-21; (ECF 15 ¶¶ 51-52). As Llanez continued to pursue him,
22     taser drawn, SA Gonzalez thought he was going to die. Gonzalez Interview, at 95:7-96:3.
23     In response, SA Gonzalez discharged his weapon four times in rapid succession in two
24     seconds. Excerpted Body Wire Recording, at 0:53-0:55; Gonzalez Interview, at 93:23-96:5;
25     (ECF 15 ¶¶ 20, 47-48). SA Gonzalez shot until he felt the threat had stopped, which is when
26     Llanez collapsed. Gonzalez Interview, at 96:12-19 (“After, after the last round that I fired,
27     he, he collapsed.”).
28
                                                         3
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 1         The excerpted body wire recording captured the following events:
 2         •    0:45               SA Gonzalez inserts keys into van and then takes off running.
 3         •    0:50               SA Gonzalez screams “aaaaa…help!”
 4         •    0:53               SA Gonzalez fires his first shot.
 5         •    0:55               SA Gonzalez fires his fourth shot.
 6         •    1:03               SA Gonzalez yells “help!” two more times.
 7         •    1:09               Officers pick up SA Gonzalez in their vehicle.
 8         •    1:33               SA Gonzalez says “I think he hurt me. I think he shot me with
                                   something . . . a taser.”
 9
           •    2:48               SA Gonzalez says “he fucking shot me with something dude.”
10
           •    3:04               SA Gonzalez says “check my back dude, you see anything?”
11
12   Excerpted Body Wire Recording; Gonzalez Decl. ¶ 6.2

13                                    III.    STANDARD OF REVIEW

14         Summary judgment is appropriate “if the movant shows that there is no genuine

15   dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

16   Fed. R. Civ. P. 56(a). The “genuineness” inquiry focuses on the sufficiency of the evidence.

17   A genuine dispute of material fact exists where the evidence is such that a reasonable jury

18   could return a verdict for the nonmoving party. Anderson v. Liberty Lobby, 477 U.S. 242,

19   248 (1986). In applying this standard, the court reviews all evidence in the light most

20   favorable to the nonmoving party. City & Cty. of San Francisco v. Sheehan, 135 S. Ct. 1765,

21   1769 (2015). A fact is material, on the other hand, if it may “affect the outcome of the suit

22   under the governing law.” Anderson, 477 U.S. at 248. And so a defendant may carry his or
     2
23     According to the second amended complaint, one bullet struck Llanez’s right hand, a
24
     second his left hand that entered his right cheek, and a third struck the taser. (ECF 15 ¶ 48);
     see also Gonzalez Interview, at 94:16-27, 95:23-25 (stating that when he shot, Llanez was
25   facing him, with both hands on the taser, belt-level, and pointing the taser as if to shoot; and
26   that he shot at Llanez “center mass”). A fourth bullet entered Llanez’s right mid back
     between the ninth and tenth rib, travelled “sharply upward” through his lung and neck
27   muscle, and lodged in his tongue. (ECF 15 ¶ 20) (quoting the autopsy report).
28
                                                         4
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 1   her burden on summary judgment by offering evidence to negate an essential element of the
 2   plaintiff’s claim. Celotex Corp. v. Catrett, 477 U.S. 317, 323-24, 331 (1986). Once the
 3   defendant does so, the burden shifts to the plaintiff to produce evidentiary materials
 4   demonstrating the existence of a genuine issue of material fact. Id. at 324; Coverdell v.
 5   Dep’t of Soc. & Heath Servs., 834 F.2d 758, 769 (9th Cir. 1987). A plaintiff must carry his
 6   or her burden by offering “significant probative evidence tending to support the complaint.”
 7   Anderson, 477 U.S. at 249. A mere scintilla of evidence does not suffice. British Airways
 8   Bd. v. Boeing Co., 585 F.2d 946, 952 (9th Cir. 1978). Finally, “[w]hen opposing parties tell
 9   two different stories, one of which is blatantly contradicted by the record, so that no
10   reasonable jury could believe it, a court should not adopt that version of the facts for
11   purposes of ruling on a motion for summary judgment.” Scott v. Harris, 550 U.S. 372, 380
12   (2007) (citation omitted).
13                         IV.      QUALIFIED IMMUNITY STANDARD
14         In individual-capacity suits, “qualified immunity protects government officials from
15   liability for civil damages insofar as their conduct does not violate clearly established
16   statutory or constitutional rights of which a reasonable person would have known.” Pearson
17   v. Callahan, 555 U.S. 223, 231 (2009) (internal quotations and citation omitted). This
18   protection is “ample.” Malley v. Briggs, 475 U.S. 335, 341 (1986). It shields “all but the
19   plainly incompetent or those who knowingly violate the law,” id., and applies “regardless
20   of whether the government official’s error is a mistake of law, a mistake of fact, or a mistake
21   based on mixed questions of law and fact.” Pearson, 555 U.S. at 231 (internal quotations
22   omitted). In qualified immunity cases, courts answer two questions: whether the facts
23   alleged show that the defendant’s conduct violated a constitutional right, and whether that
24   right was “clearly established” at the time of the events alleged. Cmty. House, Inc. v. City
25   of Boise, 623 F.3d 945, 967 (9th Cir. 2010). Courts can decide which question to answer
26   first. Pearson, 555 U.S. at 236. If the facts alleged do not show conduct that violated a
27   constitutional right, or if that right was not clearly established at the time of the events
28
                                                        5
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 1   alleged, the defendant is immune from suit. Id. at 243-45. Thus, where additional facts might
 2   be needed to decide whether a constitutional right was violated under prong one, a court can
 3   skip to prong two without requiring discovery if the right was not clearly established at the
 4   time of the alleged violation. See id. at 238-39.
 5                                       V.       LEGAL ANALYSIS
 6   A.    DEFENDANT GONZALEZ IS ENTITLED TO SUMMARY JUDGMENT ON
           THE EXCESSIVE FORCE CLAIM BASED ON QUALIFIED IMMUNITY
 7         BECAUSE THE EVIDENCE SHOWS THAT HIS ACTIONS DID NOT
           VIOLATE A CLEARLY ESTABLISHED FOURTH AMENDMENT RIGHT.
 8
           The Court has already held that based on the facts in this case, “Plaintiffs have failed
 9
     to state a constitutional violation that would support a viable excessive force claim against
10
     [SA Gonzalez] with regard to the first three shots he fired at Decedent.” (ECF 14, at 20-21).
11
     The Court reasoned “that Decedent was involved in a felony drug transaction worth
12
     hundreds of thousands of dollars and brandished a taser as he chased after Defendant
13
     Gonzalez in an attempt to frustrate his retreat.” Id. at 21. Thus, the Court concluded that
14
     “Plaintiffs have failed to plead facts demonstrating Defendant Gonzalez’s use of force in
15
     firing his first three shots at Decedent was objectively unreasonable.” Id. at 22. However,
16
     based on the facts alleged, the Court found that Plaintiffs did state a viable excessive force
17
     claim against SA Gonzalez with regard to the fourth shot because they allege that at that
18
     time, Llanez was unarmed, lying on the ground, and no longer posing a threat. Id. The
19
     Court’s ruling was expressly limited to the then-“present record.” Id. at 24. But as explained
20
     in further detail below, the incontrovertible evidence demonstrates that SA Gonzalez fired
21
     all four shots in two seconds. No case law clearly establishes that where the first three shots
22
     are reasonable under the Fourth Amendment, a fourth shot a second later is unreasonable
23
     such that qualified immunity is denied. In fact, the overwhelming case law, including
24
     binding precedent, is all to the contrary, and requires the grant of summary judgment here.
25
           “Because the test of reasonableness under the Fourth Amendment is not capable of
26
     precise definition or mechanical application . . . its proper application requires careful
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     attention to the facts and circumstances of each particular case, including the severity of the
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                                                        6
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 1   crime at issue, whether the suspect poses an immediate threat to the safety of the officers or
 2   others, and whether [the suspect] is actively resisting arrest or attempting to evade arrest by
 3   flight.” (ECF 14, at 17-18) (quoting Graham v. Connor, 490 U.S. 386, 396 (1989)). “The
 4   most important factor is whether the individual posed an immediate threat to the safety of
 5   the officers or others.” Glenn v. Washington Cty., 673 F.3d 864, 872 (9th Cir. 2011) (internal
 6   quotations omitted). “The calculus of reasonableness must embody allowance for the fact
 7   that police officers are often forced to make split-second judgments – in circumstances that
 8   are tense, uncertain, and rapidly evolving – about the amount of force that is necessary in a
 9   particular situation.” Graham, 490 U.S. at 396-97. Finally, “[t]he ‘reasonableness’ of a
10   particular use of force must be judged from the perspective of a reasonable officer on the
11   scene, rather than with the 20/20 vision of hindsight.” Id. at 396 (citation omitted).
12         Based on the Graham factors, the Court has already held that the first three shots fired
13   by SA Gonzalez did not violate the Fourth Amendment. First, Llanez was involved in a
14   felony drug transaction worth hundreds of thousands of dollars. (ECF 14, at 21). Second, at
15   the time of the shooting, Llanez, brandished a taser as he chased after SA Gonzalez in an
16   attempt to frustrate his retreat. Id. And while the Court left open the possibility that the
17   fourth shot might have been unreasonable, it did not have the benefit of SA Gonzalez’s body
18   wire recording which demonstrates that the fourth shot occurred a second after the first three
19   – Plaintiffs conspicuously omitted that fact from the complaint despite detailing the timing
20   of virtually every other aspect of this shooting.
21          “It stands to reason that, if police officers are justified in firing at a suspect in order
22   to end a severe threat to public safety, the officers need not stop shooting until the threat
23   has ended.” Plumhoff v. Rickard, 572 U.S. 765, 777 (2014). In that case, officers shot fifteen
24   rounds at the driver of a fleeing vehicle to put an end to a dangerous car chase. Id. at 768,
25   777. On appeal, the plaintiff argued “that even if the officers were permitted to fire their
26   weapons, they went too far when they fired as many rounds as they did.” Id. at 775. In
27   finding all fifteen rounds reasonable under the Fourth Amendment, the Supreme Court
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 1   emphasized that all shots occurred in a single volley during a ten-second span. Id. at 777.
 2   As the Court explained, “[t]his would be a different case if petitioners had initiated a second
 3   round of shots after an initial round had clearly incapacitated [the decedent] and had ended
 4   any threat of continued fight. . . . But that is not what happened.” Id. Moreover, “it was
 5   certainly not clearly established at the time of the shooting in this case that the number of
 6   shots fired, under the circumstances present here, rendered the use of force excessive.” Id.
 7   at 780.
 8         Here, the case for qualified immunity is all the more justified on this record. Instead
 9   of fifteen rounds shot during a ten-second span, SA Gonzalez fired four rounds in two
10   seconds. And like Plumhoff, there was no pause and second round of shots. No case law
11   clearly establishes that where the first three shots are deemed reasonable under the Fourth
12   Amendment, a fourth shot within two seconds of the first could be unreasonable such that
13   qualified immunity is denied. This is especially so given that SA Gonzalez was required to
14   make a split-second judgment in a tense and rapidly evolving situation in which he thought
15   he was going to die. His actions cannot be judged in 20/20 hindsight on the premise that he
16   was required to stop and reevaluate whether a fourth shot was necessary.
17         Indeed, the Ninth Circuit has rejected the notion that the Fourth Amendment
18   “requires an officer to reevaluate whether a deadly threat has been eliminated after each
19   shot.” Wilkinson v. Torres, 610 F.3d 546, 552 (9th Cir. 2010). As the Ninth Circuit
20   explained, “[s]uch a requirement places additional risk on the officer not required by the
21   Constitution.” Id. In that case, an officer fired eleven rounds in nine seconds at a moving
22   vehicle that had previously struck another officer. Id. at 549. In ruling the use of deadly
23   force reasonable, the court cited a Fourth Circuit case for the proposition that the firing of
24   multiple rounds “does not suggest the officers shot mindlessly as much as it indicates that
25   they sought to ensure the elimination of a deadly threat.” Id. at 552 (quoting Elliott v.
26   Leavitt, 99 F.3d 640, 643 (4th Cir. 1996)). The court continued: “[b]ecause we conclude as
27   a matter of law that deadly force was authorized . . . it makes no difference in this case
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 1   whether [the officer] fired seven rounds or eleven.” Id. at 552-53. The Wilkinson plaintiff
 2   had argued that at least three of the rounds were excessive because they occurred after the
 3   suspect’s vehicle had lost power and thus, the threat had been eliminated. Id. at 553. The
 4   court rejected that argument, stating that even if true, there was no evidence that the officer
 5   was able to “immediately perceive” that the threat had stopped given that all shots happened
 6   in quick succession in less than nine seconds. Id. The court concluded: “the Fourth
 7   Amendment does not require omniscience, and absolute certainty of harm need not precede
 8   an act of self-protection.” Id. (internal quotations and citation omitted); see also Sheehan v.
 9   City & Cty. of San Francisco, 743 F.3d 1211, 1230 (9th Cir. 2014) (“Even if [officers]
10   continued to fire after [the suspect] reached the ground, it is clear from the very brief time
11   that elapsed that [the officers] made a split-second judgment in responding to an imminent
12   threat and fired a fusillade in an emergency situation.”) (internal quotations and citation
13   omitted), reversed on other grounds by City & Cty. of San Francisco v. Sheehan, 135 S. Ct.
14   1765, 1775 (2015) (agreeing with the Ninth Circuit on that point: “Nothing in the Fourth
15   Amendment barred [officers] from protecting themselves, even though it meant firing
16   multiple rounds.”). Where the Ninth Circuit has ruled that additional shots violated the
17   Fourth Amendment, it was because two volleys of shots occurred with a pause in between.
18   For example, in Zion v. City of Orange, 874 F.3d 1072, 1075-76 (9th Cir. 2017), the plaintiff
19   did not challenge the first volley of nine shots when the suspect posed a threat, but did
20   challenge the second volley of fifteen shots when the suspect lay on the ground. Importantly,
21   however, after the first volley, the officer stopped shooting, ran ten feet closer to the suspect,
22   and after six full seconds, unloaded another fifteen rounds “at close range” while the suspect
23   lay motionless on the ground. Id. at 1075-76. Those are not the facts in this case.3
24   3
       District courts are also in agreement that once an officer is justified in using deadly force,
25   that the officer shot an additional round in quick succession does not violate the Fourth
26   Amendment. See, e.g., Nelson v. Weber, No. 16-5680, 2020 U.S. Dist. LEXIS 94426, *27
     (W.D. Wash. Feb. 13, 2020) (“Because the law is clear that where lethal force is justified,
27   shooting an entire magazine over a few seconds is not less reasonable than shooting a few
28   shots, plaintiffs’ argument is unpersuasive.”), adopted in relevant part by 2020 U.S. Dist.
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 1         In fact, in a similar case involving the use of deadly force, one district court explained:
 2         [The officer] fired all four shots in under two seconds. There is no discernable
 3         pause and restart of the shooting. The four shots were fired in swift succession.
           Plaintiffs’ claim that [the officer] should have made a judgment at the halfway
 4         mark between one second and the next . . . is asking the Court to view [the
 5         officer’s] actions with “20/20 vision of hindsight,” which is not permissible.
           Rather, the Court must view [the officer’s] actions from the “perspective of a
 6
           reasonable officer on the scene . . . often forced to make split-second judgments
 7         – in circumstances that are tense, uncertain, and rapidly evolving – about the
           amount of force that is necessary in a particular situation.
 8
 9   Angilau v. United States, No. 16-992, 2018 U.S. Dist. LEXIS 39379, *14-15 (D. Utah Mar.
10   9, 2018) (internal citations omitted). The court ultimately concluded that all four shots were
11   objectively reasonable and did not violate the Fourth Amendment. Id. at *16.
12         Even if the Court disagrees with this unanimous case law, that difference of opinion
13   alone requires the application of qualified immunity. See Ashcroft v. al-Kidd, 563 U.S. 731,
14   743 (2011) (where judges disagree on a constitutional question, qualified immunity is
15   “deserve[d]”); Wilson v. Layne, 526 U.S. 603, 618 (1999) (“If judges thus disagree on a
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17
18   LEXIS 93455 (W.D. Wash. May 28, 2020); Estate of Green v. City of Indianapolis, 420 F.
19   Supp. 3d 816, 827 (S.D. Ind. 2019) (“But when all shots are fired in one quick volley, the
     number of shots fired does not affect the qualified-immunity analysis.”); Del Castillo v. City
20
     of Tempe, No. 14-1945, 2016 U.S. Dist. LEXIS 161037, *8 (D. Ariz. Nov. 18, 2016)
21   (“Given the fast pace and escalation of the encounter, [the officer] did not have time to
     evaluate whether each additional shot was necessary. His use of deadly force was
22
     objectively reasonable, and the Court finds that the number of rounds fired is immaterial.”);
23   Dasho v. City of Fed. Way, No. 12-1398, 2015 U.S. Dist. LEXIS 79556, *25-26 (W.D.
24
     Wash. June 17, 2015) (“[W]hen faced with a tense, uncertain, rapidly evolving, and
     dangerous situation such as the one that existed here, an officer may reasonably fire a volley
25   of shots at a threatening suspect, even if some of those shots are fired as the suspect falls to
26   or lies on the ground.”); J.P. v City of Porterville, 801 F. Supp. 2d 965, 987 (E.D. Cal. 2011)
     (“In this quickly evolving situation, that some of the shots may have hit [the suspect] as he
27   was slumping or had dropped is not sufficient to show excessive force.”); Patterson v.
28   Randazzo, 160 F. Supp. 3d 849, 863-64 (M.D.N.C. 2016) (collecting additional cases).
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 1   constitutional question, it is unfair to subject police to money damages for picking the losing
 2   side of the controversy.”).4
 3         The Fourth Amendment’s reasonableness standard grants officers ample room to use
 4   deadly force until a serious and immediate threat to their safety has stopped and does not
 5   require absolute certainty or omniscience under perilous circumstances. Wilkinson, 610
 6   F.3d at 552. And even if the Fourth Amendment somehow required something more under
 7   the facts of this case, qualified immunity “gives government officials breathing room to
 8   make reasonable but mistaken judgments, and protects all but the plainly incompetent or
 9   those who knowingly violate the law.” Carroll v. Carman, 574 U.S. 13, 17 (2014) (per
10   curiam) (internal quotations and citation omitted). Based on the foregoing, SA Gonzalez is
11   entitled to qualified immunity under both prongs of the analysis.5
12   B.    THE UNITED STATES IS ENTITLED TO SUMMARY JUDGMENT ON
           THE ASSAULT AND BATTERY CLAIM BECAUSE THE EVIDENCE
13         SHOWS THAT ITS CONDUCT IS NOT ACTIONABLE UNDER
           CALIFORNIA LAW.
14
           Under the FTCA, “[t]he United States shall be liable . . . in the same manner and to
15
     the same extent as a private individual under like circumstances.” 28 U.S.C. § 2674. Further,
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     “the district courts . . . shall have exclusive jurisdiction of civil actions on claims against
17
     4
18     In the only apparent case in which a court held that an additional round fired in quick
     succession violated the Fourth Amendment, the court ultimately concluded that the officer
19
     was still entitled to qualified immunity. It was not clearly established that shooting a falling
20   suspect violates the Fourth Amendment when “immediately before” the last shot, the officer
21
     was justified in using deadly force. See Abuka v. City of El Cajon, No. 17-89, 2019 U.S.
     Dist. LEXIS 37137, *23-26, *29-31 (S.D. Cal. Mar. 7, 2019).
22   5
       The description of Llanez’s injuries provides further support for SA Gonzalez’s statement
23   that Llanez did not fall until after all four shots. As Plaintiffs allege, three shots occurred
24
     while Llanez was facing SA Gonzalez: one striking his left hand and lodging in his right
     cheek, one striking his right hand, and one striking the taser. (ECF 15 ¶ 48). A fourth shot
25   entered his back, travelling “sharply upward” and lodging in his tongue. Id. ¶ 20. It is
26   unlikely, if not impossible, that Llanez went from an upright, front-facing, threatening
     position to a flat-on-the-ground, back-facing, non-threatening position in less than a second
27   – and certainly not to the point where it was clearly established that SA Gonzalez could or
28   should have appreciated that fact.
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 1   the United States, for money damages, . . . for injury or loss of property, or personal injury
 2   or death caused by the negligent or wrongful act or omission . . . if a private person would
 3   be liable to the claimant in accordance with the law of the place.” 28 U.S.C. § 1346(b)(1).
 4   The Supreme Court has “consistently held that § 1346(b)’s reference to the ‘law of the
 5   place’ means law of the State – the source of substantive liability under the FTCA.” FDIC
 6   v. Meyer, 510 U.S. 471, 478 (1994) (citations omitted). Here, because the events occurred
 7   in California, California law applies. See Avina v. United States, 681 F.3d 1127, 1130 (9th
 8   Cir. 2012) (citing Richards v. United States, 369 U.S. 1, 7 (1962)).
 9         The Court has already held that the Fourth Amendment’s reasonableness standard
10   controls the question of whether an assault and battery occurred under California law and
11   likewise limited the assault and battery claim to whether the fourth shot here was reasonable.
12   (ECD 14, at 30-31) (citing Munoz v. City of Union City, 120 Cal. App. 4th 1077, 1102 n.6
13   (2004), overruled on other grounds as stated in Hayes v Cty. of San Diego, 57 Cal. 4th 622,
14   636 (2013); Avina, 681 F.3d at 1131). Thus, for the same reasons why SA Gonzalez’s fourth
15   shot was reasonable under the Fourth Amendment, the fourth shot also did not constitute an
16   assault or battery under California law. And while qualified immunity does not apply to
17   FTCA claims, that does not matter for purposes of granting summary judgment in favor of
18   the United States here. That is because the Supreme Court in Plumhoff and the Ninth Circuit
19   in Wilkinson both held that once the use of deadly force is justified, the number of rounds
20   fired in a single volley does not affect the Fourth Amendment’s reasonableness analysis.
21   See 572 U.S. at 777-78 (holding that petitioner’s conduct did not violate the Fourth
22   Amendment); 610 F.3d at 554 (“Because we conclude that [the officer] did not violate a
23   constitutional right, we need not reach the question of whether that right was clearly
24   established.”). That same reasonableness analysis plainly applies here to defeat the assault
25   and battery claim as well.
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 1                               *                         *                         *
 2         “[T]he purpose of Rule 56 is to enable a party who believes there is no genuine
 3   dispute as to a specific fact essential to the other side’s case to demand at least one sworn
 4   averment of that fact before the lengthy process of litigation continues.” Lujan v. Nat’l
 5   Wildlife Fed’n, 497 U.S. 871, 888-89 (1990). To oppose this motion, it is not enough for
 6   Plaintiffs to disbelieve the evidence presented herein. See 9B Charles Alan Wright & Arthur
 7   R. Miller, Federal Practice and Procedure § 2527 (3d ed. 2012) (“If all of the witnesses deny
 8   that an event essential to the plaintiff’s case occurred, the plaintiff cannot get to the jury
 9   simply because the jury might disbelieve these denials. There must be some affirmative
10   evidence that the event in question actually occurred.”). It is also not enough for Plaintiffs
11   to speculate that Llanez was shot when he no longer posed a threat. “Instead, the plaintiff
12   must present affirmative evidence in order to defeat a properly supported motion for
13   summary judgment.” Anderson, 477 U.S. at 257. But no affirmative evidence will change
14   precedent holding that once an officer is justified in using deadly force, the firing of one
15   additional round in quick succession does not turn a reasonable use of deadly force into an
16   unreasonable one. And no affirmative evidence will change the incontrovertible audio
17   showing that that is precisely what happened here: all four shots occurred in two seconds.
18   See Scott, 550 U.S. at 380 (plaintiff cannot overcome summary judgment by asserting facts
19   “blatantly contradicted by the record”). In light of the foregoing, Plaintiffs simply cannot
20   carry their burden of proving that Llanez’s clearly established constitutional rights were
21   violated or that an assault or battery occurred under California law.
22         Moreover, qualified immunity is “an immunity from suit rather than a mere defense
23   to liability.” Mitchell v. Forsyth, 472 U.S. 511, 526 (1985). Thus, the Supreme Court has
24   repeatedly emphasized that lower courts must resolve the threshold legal question of
25   qualified immunity before subjecting government officials to discovery. See, e.g., Ashcroft
26   v. Iqbal, 556 U.S. 662, 685 (2009); Pearson, 555 U.S. at 231-32; Behrens v. Pelletier, 516
27   U.S. 299, 308 (1996); Hunter v. Bryant, 502 U.S. 224, 227 (1991) (per curiam). As the
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 1   Court explained, “the driving force behind creation of the qualified immunity doctrine was
 2   a desire to ensure that insubstantial claims against government officials will be resolved
 3   prior to discovery.” Pearson, 555 U.S. at 231-32 (internal quotations and citation omitted)
 4   (emphasis added). That protection is lost when officials must participate in discovery
 5   bearing on the merits of a claim where the incontrovertible evidence fails to show a clearly
 6   established violation. Thus, the Court should not hesitate to grant this summary judgment
 7   motion notwithstanding the current procedural posture. There is no good reason to force SA
 8   Gonzalez and the United States into lengthy discovery when nothing will change the audio
 9   recording demonstrating that the fourth shot in the same volley here was reasonable. And
10   while qualified immunity does not apply to FTCA claims, the Federal Rules of Civil
11   Procedure are broad enough to grant courts ample discretion to enter summary judgment
12   prior to allowing any discovery at all. See Fed. R. Civ. P. 56(b) (a party may move for
13   summary judgment “at any time until 30 days after the close of all discovery”); see also
14   Committee Notes on Rules – 2009 Amendment (“The new rule allows a party to move for
15   summary judgment at any time, even as early as the commencement of the action.”).
16                                          VI.      CONCLUSION
17         This motion does not require the Court to revisit the question of whether the
18   circumstances justified the use of deadly force in the first place. The Court already ruled
19   that SA Gonzalez was justified in firing his weapon based on the serious threat Llanez posed
20   and that is now the law of the case. The sole question here is once deadly force is justified,
21   does an additional round in the same volley a split second later turn a reasonable use of
22   force into an unreasonable one. The answer is no. The Court should accordingly grant the
23   motion for summary judgment, enter judgment in favor of SA Gonzalez on the excessive
24   force claim (Count Two) and the United States on the FTCA assault and battery claim
25   (Count Three), and end this case.
26   DATED: September 29, 2020                               Respectfully submitted,
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                                                      14
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